           Case 2:12-cr-00362-TLN Document 203 Filed 02/11/15 Page 1 of 2


 1   BRUCE LOCKE
 2   Moss & Locke
 3   800 Howe Avenue, Ste 110
 4   Sacramento, California 95825
 5   (916) 719-3194
 6   blocke@mosslocke.com
     Attorneys for
 7   TAMARA TIKAL
 8
                              IN THE UNITED STATES DISTRICT COURT
 9
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                    )        No. CR. S-12-362 TLN
11                                                )
                            Plaintiff,            )
12                                                )        STIPULATION AND ORDER
                                                  )        AMENDING THE SCHEDULE OF
              v.                                  )        DISCLOSURE
13                                                )
     TAMARA TIKAL,                                 )
14                                                )
                            Defendant.            )
15

16   ___________________________________

17
              The defendant, Tamara Tikal, by and through her attorney and the United States, by and
18
     through its attorney, hereby stipulate that the Sentencing date and the Schedule for Disclosure of
19
     the Pre-Sentence Report should be amended to provide that the Sentencing Date shall be April 23,
20
     2015, at 9:30 a.m., rather than February 19, 2015; that the Informal Objection Date shall be
21
     March 5, 2015; that the Report Date shall be March 12, 2015; that the Correction Date shall be
22
     March 26, 2015; and that the Reply Date shall be April 2, 2015. The reason for the change is that
23
     defense counsel has obtained approval to have Ms. Tikal examined by a psychologist prior to
24
     sentencing and the additional time is necessary to give the psychologist time to do the
25
     examination and prepare her report.
26
     ///
27
     ///
28
                                                       1
       Case 2:12-cr-00362-TLN Document 203 Filed 02/11/15 Page 2 of 2


 1            The Probation Officer has been advised of this pleading and has no objection to the new
 2   dates.
 3   DATED: February 10, 2015
                                                    /s/ Bruce Locke
 4                                                 For Tamara Tikal

 5

 6

 7

 8   DATED: February 10, 2015                       /s/ Bruce Locke
                                                   For PHILIP FERRARI
                                                   And MAGGY ROSE KRELL
 9                                                 Attorneys for the United States
10

11

12            IT IS SO ORDERED.

13
     DATED: February 10, 2015
14                                                        Troy L. Nunley
                                                          United States District Judge
15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                      2
